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SECURITIES ANI) EXCHANGE
COMMISSION,

 

Plaintiff,
V- Case No. Z.`[ 913 y»Q§g-HW F[<@

ARTHUR LANIAR ADAMS AND
MADISON TlM`BER PROPERTI.ES, LLC, J URY DEMANI}

})efendants,

 

 

COMPLAINT

Plaintiff, Securities and l`£xchang,e Colmnission (the “Commission"`), files its

complaint and alleges that
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]. Beginnjng in approximater 20()4, De“f"endant Al“chur Lamar Adams
(“Adams”), through his wholly-owned company Madison Timber P:.'opez‘ties, LLC
("'MT Properties”)., committed Securities fraud by operating a Ponzi scheme
Adams and MT Pl'opert'ies have raised al leasl 385 miliion from over 150 investors

in multiple States.

Case 1:18-mc-00023-UA Document 1 Filed 06/29/18 Paoe 1 of 11

Case 3:18-cv-00252-CWR-FKB Document 3 Fi|ec| 04!20/18 Page 2 of 10

2. Adams told investors that their money Would be used by MT
Properties to acquire timber-harvesting rights from various land owners on behalf
of investors The company allegedly would later harvest the timber and pay
investors with the profits In fact, Adams operated the venture as a Ponzi scheme,
paying earlier investors with funds obtained from newer investors He also used
invested funds for a variety of inappropriate ends, including personal expenses and
to fund real estate investments

3. By the conduct detailed in this Cornplaint, Adams and MT Properties
violated Section I7(a) of the Securities Act of 1933 (“Securities Act”) [15 U.S.C. §
77q(a)], Section lO(b) of the Securities Exchange Act of 1934 (“Exchange Act”)
[15 U.S.C. § 78j(b)] and Rule 10b-5 [17 C.F.R. § 240.10b-5] thereunder. Unless
enjoined, Adams and MT Properties are likely to commit such violations again in
the future.

4. 'l`he Commission seeks a judgment from the Court: (a) freezing
defendants’ assets pending final adjudication of the Commission’s claims; (b)
finding that Adams and MT Properties violated the antifraud provisions of the
federal securities laws; (c) enjoining Adams and MT Properties from engaging in
future violations of the antifraud provisions of the federal securities laWs; (d)
ordering Adams and MT Properties to disgorge his ill-gotten gains described

herein, with prejudgment interest; and (e) ordering Adams and MT Propetties to

Case 1:18-mc-00023-UA Document 1 Filed 06/29/18 Paoe 2 of 11

Case 3:18~cv-00252-CWR-FKB Document 3 Filed 04/20/18 Page 3 of 10

pay a civil monetary penalty pursuant to Section 20(d) of the Securities Act [15
U.S.C. § 77t(d)] and Section 21(d) of the Exchange Act [15 U.S.C. § 78u(d)].
JURISDICTION AND VENUE

5. 'l`he Commission brings this action pursuant to Sections 20(b) and
20(d) of the Securities Act [15 U.S.C. §§ 77t(b) and 77t(d)] and Section 21(d) the
Exchange Act [15 U.S.C. § 78u(d)].

6. The Court has jurisdiction over this action pursuant to Sections 20(b),
20(d) and 22(a) of the Securities Act [15 U.S.C. §§ 77t(b), 77t(d), and 77v(a)], and
Sections 21(d), 21(e), and 27 of the Exchange Act [15 U.S.C. §§ 78u(d), 78u(e),
and 78aa].

7. Adams and MT Properties, directly or indirectly, used the means or
instruments of interstate commerce, the mails, or the facilities of a national
securities exchange in connection with the acts described herein.

8. Venue is proper under Section 22 of the Securities Act [15 U.S.C. §
77v], Section 27 of the Exchange Act [15 U.S.C. § 7Saa] and 28 U.S.C. § 1391
because a substantial part of the events or omissions giving rise to the claims made
herein occurred in the Southern District of Mississippi. In addition, Adams resides
in, and MT Properties has its principal place of business in, Madison MS, which is

within the Southern District.

_ 2 Case 1:18-mc-00023-UA Document 1 Filed 06/29/18 Paoe 3 of 11

Case 3:18-cv-00252-CWR-FKB Document 3 Filed 04/20/18 Page 4 of 10

DEFENDANTS

9. Arthur Lamar Adams, age 58, lives in Madison, Mississippi. He is
the founder and president of MT Properties

10. Madison Timber Properties, LLC is a Mississippi limited liability
company that has its principal place of business in Madison, Mississippi. It is
wholly-owned by Adams. b

STATEMENT OF FACTS

ll. MT Properties purports to be a timber harvesting company.

12. Starting in at least 2004, Defendants began raising hinds through the
sale of promissory note investments The sale of these promissory notes has
continued until April 19, 2018.

13. In general, the promissory notes are for a one-year period and offer an
annual return of 12%-15%, which is paid back over the course of the year. At the
end of the year, investors can either have their principle returned or rolled over into
a new investment

14. When soliciting investors, Defendants told investors that MT
Properties would use the funds to secure and harvest timber from specific tracts of
land that owned by third parties The tracts of land were usually located in

Alabama, Florida, or Mississippi.

Case 1:18-mc-00023-UA Document 1 Filed 06/29/18 Paoe 4 of 11

Case 3:18-cv-00252-CWR-FKB Document 3 Fi|ecl 04/20/18 Page 5 of 10

15 . Def`endants also told investors that they would generate the
investment returns from the sale of the harvested timber. Finally, many investors
were told that they had the sole rights to the specific land tracks, and that no one
else would be able to harvest the timber on that land.

16. The Proposed Defendants raised at least $85,000,000 through the sale
of these securities to approximately 150 investors located primarily in the
southeastern United States

17. As part of this “Timber Scheme” the Proposed Defendants provides
the investor with a (1) promissory note; (2) timber deed and cutting agreement; (3)
security agreement; (4) tract summary that includes the value of the timber on the
property; and (5) a title search certificate

18. MT Properties never obtained the harvesting rights to the land as
claimed In most cases, Adams forged the timber deed and cutting agreements
Adams also forged the documents purportedly showing the value of the timber on
the land tracks Further, Adams would pledge the same land tracts (which he did
not actually have the rights to) to multiple parties Finally, in most cases, the
specific land tracks did not have the value of timber as promised or did not in fact
have any harvestable timber.

19. Instead of using the investor funds generated by the Timber Sch'eme

to acquire timber rights and harvest the timber, Adams used the hinds for his own

Case 1:18-mc-00023-UA Document 1 Filed 06/29/18 Paoe 5 of 11

Case 3:18-cv-00252-CWR-FKB Document 3 Filed 04/20/18 Page 6 of 10

benefit. Additionally, Adams began constructing real estate developments near
Oxford and Starkville, Mississippi. Investors were not told about this real estate
development and had no knowledge that their funds would be used support it.
Further, the investors have no legal interest in the real estate developments

20. In addition, Defendants used funds from new investors to pay the

returns owed to existing investors

COUNT I - FRAUD IN THE PURCHASE OR SALE OF SECUR.ITIES
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Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Thereunder
[15 U.S.C. § 78j(b); 17 C.F.R. § 240.10b-S]

21. The Commission realleges and reincorporates paragraphs l through
20 as if fully set forth herein.

22. Since approximately 2004, Def`endants, in connection with the
purchase or sale of securities by use of means or instrumentalities of interstate
conunerce or of the mails, or of any facility of any national securities exchange,
directly or indirectly:

(a) made untrue statements of material facts and omitted to state
facts necessary to make the statements made, in light of the circumstances
under which they were made, not misleading; or

(b) engaged in acts, practices or courses of business which

operated or would operate as a fraud or deceit.

Case 1:18-mc-00023-UA Document 1 Filed 06/29/18 Paoe 6 of 11

Case 3:18-cv-00252-CWR-FKB Document 3 Filed 04/20/18 Page 7 of 10

23. Defendants’ misrepresentations, omissions, and acts, practices or
courses of business which operated as a fraud or deceit were material.

24. Defendants acted with scienter by knowingly or with severe
recklessness making the above-referenced misrepresentations and omissions and
engaging in acts, practices or courses of business which operated as a fraud or
deceit.

25. By reason of the actions alleged herein, Def`endants violated Section

10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17

c.F.R. § 240.10b-s].

COUNT II -FRAUD IN THE OFFER OR SALE OF SECURITIES
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Violations of Section l7(a) of the Securities Act
[15 U.S.C. § 77q(a)(l)]

26. The Comrnission realleges and reincorporates paragraphs 1 through
20 as if fully set forth herein.

27. Since approximately 2004, Defendants, directly or indirectly, in the
offer or sale of securities, by use of any means or instruments of transportation or
communication in interstate commerce or by use of the mails, employed a device,
scheme or artifice to defraud

28. Defendants’ misrepresentations omissions, and acts, practices or

courses of business which operated as a fraud or deceit were material

Case 1:18-mc-00023-UA Document 1 Filed 06/29/18 Paoe 7 of 11

Case 3:18-cv-00252-CWR~FKB Document 3 |=iled 04/20/18 Page 8 of 10

29. Defendants acted With scienter by knowingly or with severe
recklessness making the above-referenced misrepresentations and omissions, and
engaging in acts, practices or courses of business which operated as a fraud or
deceit Defendants also acted negligently

30. By reason of the actions alleged herein, Defendants violated Section
l7(a) of the Securities Act [15 U.S.C. § 77q(a)].

PRAYER FOR RELIEF

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WHEREFORE, the Commission respectfully requests that the Court enter a
judgment

(i) finding that Defendants violated the antifraud provisions of the federal
securities laws as alleged herein; l

(ii) permanently enjoining Defendants from violating Section l7(a) of the
Securities Act [15 U.S.C. § 77q(a)], Section 10(b) of the Exchange Act [15 U.S.C.
§ 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b~5];

(iii) freezing defendants’ assets, expediting discovery and preventing the
destruction of documents pending resolution of this litigation

(iv) ordering Defendants to disgorge their ill-gotten gains and to pay

prejudgment interest thereon;

j Case 1:18-mc-00023-UA Document 1 Filed 06/29/18 Paoe 8 of 11

Case 3:18-cv-00252-CWR-FKB Document 3 Filed 04/20/18 Page 9 of 10

(v) ordering Defendants to pay a civil monetary penalty pursuant to Section

20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d) of the Exchange

Act [15 U.S.C. § 78u(d); and

(vi) granting such other relief as this Court may deem just and proper.

DEMAND FOR JURY TRIAL

Pursuant to Rule 38 of the Federal Rules of Civil Procedure, the

Commission demands trial by jury in this action of all issues so triable.

Dated this 20th day of April, 2018.

Respectfully subrnitted,

s/ W. Shawn Murnahan

W. Shawn Murnahan

Senior Trial Counsel
Georgia Bar No. 529940
Tel: (404) 842-7669

Email: murnahanw@sec.gov

M. Graham Loomis
Regional Trial Counsel
Georgia Bar No. 457868
Tel: (404) 842-7622

Email: loomism@sec.gov

Justin Delfino

Senior Counsel

Georgia Bar No. 570206
Tel: (404) 942-0698
Email: delfinoj@sec.gov

COUNSEL FOR PLAINTIFF
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Case 1:18-mc-00023-UA Document 1 Filed 06/29/18 Paoe 9 of 11

Case 3:18-cV-00252-CWR-FKB Document 3 Filed 04/20/18 Page 10 of 10

Securities and Exchange Commission
Atlanta Regional Office

950 East Paces Feny Road, N.E., Suite 900
Atlanta, GA 30326-1382

Tel (main): (404) 842-7600

Fax: (703) 813-9364

OF COUNSEL

D. Michael Hurst, Jr.
United States Attorney

s/Krr`str` H. Johnson

Kristi H. Johnson

Assistant United States Attomey
MS Bar No. 102891

Marc Perez
Assistant United States Attomey
WA Bar No. 33907

Civil Division

United States Attomey‘s Office
Southem District of Mississippi
501 East Court Street, Suite 4-430
Jackson, MS 39201

Tel: (601) 973-2887

Fax: (601) 965-4409

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Case 1:18-mc-00023-UA Document 1 Filed 06/29/18 Paoe 10 of 11

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DEFENDANTS
U.S. Securities and Exchange Comrnission ARTHUR LAMAR ADAMS AND MAD|SON T1
950 East Paces Ferry Road, N.E.. Suite 900, Atla

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(b) County of Residencc of First Listed Plaintil`f Co nry of Residence 01` Fi'rst Lisred Defendant MadiSOn CO. MS
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Vl. CAUSE OF ACTION

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Case 1:18-mc-00023-UA Document 1 Filed 06/29/18 Paoe 11 of 11

